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John Rai 110 oul. ar fey.

  

 

, t ae be PY T ”
-_ ome STATES DISTRICT Court
“SOUTHERN DISTRICT OF NEW YORKUY 27 AMI: 32

 

  

feidd Rapillo

 

ee Write the|full name of each plaintiff or petitioner.

Case No. 09 CV 10429 (VSB)

 

 

 

-against-
Barry Fingerhut, et al NOTICE OF MOTION
Write the full name of each defendant or respondent.
John Rapillo & John Rapillo &
PLEASE TAKE NOTICE that Heidi Rapillo Heidi Rapillo
plaintiff or defendant name of party who is making the motion

 

requests that the Court:

 

Pla
pur

the statut

ntiffs argue that relief from this Order is warranted
yant to Fed.F.Civ.P. Rule 60(b) (6).

rite the Court's Memorandum and Order dated September 14, 2016.

Briefly chon what you want the court to do. You should also include the Federal Rule(s) of Civil Procedure or

oa

under which you are making the motion, if you know.

In ~r of this motion, I submit the following documents (check all that apply):

emorandum of law

 

 

   

                               

                      

 

{my own declaration, affirmation, or affidavit
(4 the Exh. 13; Thatcher
Report,).Exh. 2; Fingerhut Deposition, Exh, 3; Letter from Max Folkenflik, Exh. 43

Plea Agree., Exh. 5; Holzer Deposition, Exh. 6;

consid

letters) dated 2/2/17, 3/30/17, 6/14/17, 7/29/17
aracd-(9

 

Per Court Appearance on 7/10/17,
eration of previously submitted documents: VCampus, Lond, 13D-SEC. gov,

 

Dated

AL Keo C b68d14

Signature — Heidi a O'6. (K,
Heidi Rapillo & John Rapillo Act b BAAD

 

 

 

 

Name Signature oe John’ Rapilto o
14 Winding Lane Scarsdale NY Ve ose
Address City State Zip Code
914-472-8191 hrapillo@optonline.net
Telephone/Number (if available) E-mail Address (if available)
SDNY Rev: 8/24/2016

 

 

 
Case 1:09-cv-10429-VSB Document 137 Filed 06/27/19 Page 2 of 2

Rapillo wt
14 Winding Lane
Scarsdale, NY 105

 

Pro Se Unit

U.S. District Court
Southern District .
500 Pearl Street, Room 200
New York, NY 10007

 

 

 

 
